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           EXHIBIT 6
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From:             Houghton-Larsen, M Annie
To:               "Joe Sibley"
Cc:               Gottlieb, Michael; Governski, Meryl Conant; Knoblett, John Tyler; MacCurdy, Maggie; "John Langford"
Subject:          Freeman v. Giuliani - January 9, 2023 Meet and Confer
Date:             Thursday, January 12, 2023 3:55:58 PM


Joe,

Thanks again for meeting and conferring to discuss Mr. Giuliani’s discovery efforts. You represented
that you are not aware that Mr. Giuliani has searched his email, cell phone, or social media accounts
for responsive documents and Mr. Giuliani has not yet verified many of his interrogatory responses.
While we appreciated the discussion, we don’t believe that filing a consent order regarding
discovery deficiencies is a workable solution.

We note that there is still time for Mr. Giuliani to resolve this before his deposition on January 25th.
As discussed, if Mr. Giuliani has not resolved these discovery errors before his deposition, we reserve
the right to hold the deposition open and re-notice Mr. Giuliani for further deposition and to seek
any judicial intervention, including moving to compel.

As discussed, we are unable to access Mr. Giuliani divorce proceedings in New York state court
without his authorization. You indicated that Mr. Giuliani would provide his authorization. I will plan
to bring a release letter to the deposition in Fort Lauderdale for Mr. Giuliani to execute.

I will send an email regarding deposition logistics by early next week.

Thanks,
Annie


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Pronouns: she, her, hers
